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 1                                                             The Honorable Benjamin H. Settle
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 7                            UNITED STATES DISTRICT COURT FOR THE
                                WESTERN DISTRICT OF WASHINGTON
 8
                                          AT TACOMA
 9
      UNITED STATES OF AMERICA,                           No. CR13-5597BHS
10
                               Plaintiff,                 ORDER GRANTING JOINT MOTION
11
                         v.                               TO CONDUCT DISCOVERY
12                                                        PURSUANT TO FEDERAL RULE OF
      JENNIFER KLEPACH,                                   CRIMINAL PROCEDURE 32.2
13
                               Defendant,
14
15
      JOSE VENTURA-GARCIA,
16
17                             Third Party
                               Claimants/Petitioners.
18
19
20           This matter having come before the Court on the Motion of the United States and
21 Petitioner Jose Ventura-Garcia, requesting this Court for authorization to conduct
22 discovery, and to set an ancillary hearing date, and the Court having considered the
23 representations of counsel and the files and records herein, it is hereby
24           ORDERED that, pursuant to Rule 32.2, Federal Rules of Criminal Procedure, and
25 Title 21, United States Code, Section 853(m), the United States and the petitioner may
26 conduct discovery, pursuant to the Federal Rules of Civil Procedure. Discovery will be
27 completed by December 18, 2014.
28
     Order to Conduct Discovery - 1                                            UNITED STATES ATTORNEY
                                                                               1201 PACIFIC AVENUE, SUITE 700
     U.S. v. Jennifer Klepach, (Case No. CR13-5597BHS)
                                                                                TACOMA, WASHINGTON 98402
                                                                                       (253) 428-3800
            Case 3:13-cr-05597-BHS             Document 217           Filed 10/22/14        Page 2 of 2




 1           IT IS FURTHER ORDERED that an ancillary hearing will be set for the 29th day
 2 of January, 2015 at 10:00 a.m. to litigate the petition of Jose Ventura-Garcia.
 3           DATED this 22nd day of October, 2014.
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                                                         BENJAMIN H. SETTLE
 8                                                       United States District Judge
 9
     Presented by:
10
11    s/Matthew H. Thomas
     MATTHEW H. THOMAS
12   Assistant United States Attorney
13   United States Attorney’s Office
     1201 Pacific Avenue, Suite 700
14   Tacoma, Washington 98402
     Telephone: 253-428-3809
15   Fax No.:      253-383-7974
     E-Mail:       Matthew.H.Thomas@usdoj.gov
16
17
18  /s/Sunni Y. Ko
   SUNNI Y. KO
19 The Law Office of Sunni Ko, PLLC
   1105 Tacoma Avenue South
20 Tacoma, WA 98402
   Office: (253) 383-5346
21 Fax: (253) 572-6662
   E-Mail: Sunni@sunnikolaw.com
22
23
24
25
26
27
28
     Order to Conduct Discovery - 2                                                     UNITED STATES ATTORNEY
                                                                                        1201 PACIFIC AVENUE, SUITE 700
     U.S. v. Jennifer Klepach, (Case No. CR13-5597BHS)
                                                                                         TACOMA, WASHINGTON 98402
                                                                                                (253) 428-3800
